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  10                          UNITED STATES DISTRICT COURT
  11                        CENTRAL DISTRICT OF CALIFORNIA
  12

  13 ROBERT HUNTER BIDEN, an                     Case No.: 2:23-cv-07593-HVD-KS
       individual,
  14                                             To Be Heard By The Honorable Monica
                     Plaintiff(s)                Ramirez Almadani
  15
             v.                                  DEFENDANTS’ OBJECTIONS TO
  16                                             PLAINTIFF’S EVIDENCE FILED
     GARRETT ZIEGLER, an individual;             IN SUPPORT OF PLAINTIFF’S
  17 ICU, LLC, a Wyoming limited liability       OPPOSITION TO MOTION TO
     company d/b/a Marco Polo, and DOES          RECUSAL
  18 1 through 10, inclusive,
                                                 Date: April 25, 2024
  19                 Defendant(s)                Time: 1:30 p.m.
                                                 Ctrm: 10B
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                      DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE
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             Defendants Garrett Ziegler and ICU, LLC, hereby object to Plaintiff’s evidence
   1
       submitted in support of their opposition to the motion for recusal as follows:
   2
                         OBJECTION TO PLAINTIFF’S EXHIBITS
   3
               Material Objected To                       Grounds For Objection
   4
        Objection 1                                 • Probative value is substantially
   5
        Exhibit “B” - Excerpts from Federal            outweighed by a danger of unfair
   6
        Election Committee website                     prejudice, confusing the issues, and
   7
        pertaining to Candidate Profile of             wasting time. Fed. R. Evid. 403.
   8
        Joseph R. Biden Jr.                         • Offered to prove the truth of the
   9
                                                       matter asserted. Fed. R. Evid. 801.
  10
        Objection 2                                 • Probative value is substantially
  11
        Exhibit “C” - Transcript of interview          outweighed by a danger of unfair
  12
        of Garrett Ziegler by Vince                    prejudice, confusing the issues, and
  13
        Coglianese, dated January 26, 2024.            wasting time. Fed. R. Evid. 403.
  14
                                                    • Best Evidence Rule. Fed. R. Evid.
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                                                       1102.
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                OBJECTION TO DECLARATION OF GREGORY A. ELLIS
  18
               Material Objected To                       Grounds For Objection
  19
        Objection 3                                 • Offered to prove the truth of the
  20
        The portion of paragraph 3 stating,            matter asserted. Fed. R. Evid. 801.
  21
        “showing the total funds raised by          • Probative value is substantially
  22
        President Joseph R. Biden, Jr. for the         outweighed by a danger of unfair
  23
        2020 election cycle.”                          prejudice, confusing the issues, and
  24
                                                       wasting time. Fed. R. Evid. 403.
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                                                    • Lacks foundation. Fed. R. Evid.
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                                                       602.
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                      DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE
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   1            Material Objected To                      Grounds For Objection
   2

   3   Objection 4                                  • Probative value is substantially
   4   The portion of paragraph 4 stating,             outweighed by a danger of unfair
   5   “over one month before Defendants               prejudice, confusing the issues, and
   6   filed the present motion on March 7,            wasting time. Fed. R. Evid. 403.
   7   2024.”                                       • Lacks foundation. Fed. R. Evid.
   8                                                   602.
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                                             TYLER LAW, LLP
  11 DATED: April 11, 2024

  12
                                             By: /s/ Robert H. Tyler
  13                                             Robert H. Tyler, Esq.
                                                 Attorneys for Defendants Garrett Ziegler
  14                                             and ICU, LLC
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                     DEFENDANTS’ OBJECTIONS TO PLAINTIFF’S EVIDENCE
